        Case 1:19-cv-00114-ECM-WC Document 1 Filed 02/08/19 Page 1 of 5



IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF

                                   RWINtfelp
                                                 3: 41
Kevin Saffold,                    NO FEB -8 P
          Plaintiff                               ..ty
                                  DEBRA P tiPCE.11
                                                   Zption No. I :19- cv-114- gar- Wei
Vs
                                                    DEMAND FOR JURY TRIAL
Myra K. McLeod,
         Defendant.




Plaintiffs Verified Complaint for Breach of Contract and Demand for Preliminary
                                Injunctive Relief.




Plaintiff, Kevin Saffold, sues Defendant, Myra K. McLeod, and states the following:



                               Jurisdiction and Venue

     1) At aIl times mentioned in this complaint plaintiff was and remains a
        resident of Houston County, Alabama, and plaintiff is also above the age of
        19 years of age.
     2) At all tirnes mentioned in this complaint to the best of plaintiffs knowledge
        and belief the defendant Myra K. McLeod was and remains a permanent
        resident of Steubenville, Ohio.



     3) This court has jurisdiction over this dispute as the complaint seeks damages
        above the $75,000 threshold limit.




                                           1
   Case 1:19-cv-00114-ECM-WC Document 1 Filed 02/08/19 Page 2 of 5



4) This court also has jurisdiction over the matter because defendant McLeod
   resides in Steubenville, Ohio, which is diverse to Plaintiff Saffold who
   resides in Dothan, Alabama.



                          GENERAL ALLEGATIONS


5) The plaintiff is a "Journalise, operating under the name "Solutions for
   Justice" and existing under and by virtue of a business license issued
   through the City of Dothan, Alabama.
6) This is an action for damages as a result of a Breach of Contract or
   Agreement.
7) Defendant solicited and obtained the benefit of plaintiff's services between
   May 10, 2018 and July 10, 2018 based upon a contingency (agreement)that
   plaintiff would be compensated from the profits of a "boole being
   authored by defendant.
8) Plaintiff provided logistical support and valuable considerations to
   defendant such as food, shelter, transportation services and office
   accommodations based upon a contingency agreement and without a
   demand for pre-payment.
9) Pursuant to the terms of said agreement, defendant agreed to present an
   original manuscript which plaintiff agreed to type-set, proof read, edit,
   publish and promote (for sales) in exchange for a 30 percent share of the
   estimated profits derived from the same.
10)       Despite numerous demands rnade to defendant to provide the
   plaintiff with a final rough draft of the manuscript (as promised), defendant
   has failed and/or refused to submit the finished material.
11)       Defendant has defaulted and breached the terms of the agreement
   by failing to present the manuscript as promised.
12)       On or about June 07, 2018 and June 09, 2018 and pursuant to this
   same business arrangement the parties also agreed to purchase two
   automobiles frorn the Dothan Kia Dealership located at 2985 Ross Clark
   Circle Dothan, Alabama.
   Case 1:19-cv-00114-ECM-WC Document 1 Filed 02/08/19 Page 3 of 5



13)       As a part of said agreement it was understood that both vehicles,
   2016 Dodge Ram 1500(VIN: 1C6RR7MT1GS215483) and 2015 BMW X1 SUV
  (WBAVM5C55FW94690) would be purchased under defendant's name but
   plaintiff would be responsible for the money to cover the expenses of down
   payment, tags, insurance and monthly car-notes, etc, which plaintiff paid
   as agreed upon.
14)       Plaintiff agreed to utilize both vehicles to provide transportation
   services for defendant to attend social, religious and business functions
   whenever requested by defendant.
15)       Defendant promised to grant plaintiff a limited "Power of Attorney"
   in order to authorize the plaintiff to manage the accounts, communicate
   with the finance company(s) about the payments, and to             maintain
   possession of and utilize each vehicle to conduct his own personal and
   business-related trips.
16)       Defendant also promised that once the Ioans were completely
   satisfied the rights of ownership to both these vehicles would be conveyed
  to plaintiff.

17)      Within several months after the purchase of said vehicles defendant
   claims that she was being contacted by someone from the finance
   companies (who held the notes to said vehicles) saying the monthly car-
   notes were delinquent.
18)      Notwithstanding the afore-mentioned promises being made and
   agreed upon the defendant subsequently breached the contract by having
  the BMW voluntarily re-possessed to Kia Motors Finance.

19)      On or about November 08, 2018 defendant made contact with a
   Dothan Police Dept. Investigator and plaintiff was arrested due to a criminal
   complaint which charged plaintiff with "Financial Exploitation of an elderly
   person.
20)      Due to the criminal charges pending in The Circuit Court of Houston
   County plaintiff has been unable to initiate any contact with the defendant.




                                     3
      Case 1:19-cv-00114-ECM-WC Document 1 Filed 02/08/19 Page 4 of 5



   21)      Meanwhile plaintiff has maintained possession of the Dodge Ram
      1500 but anticipates that defendant will likely commit further breach of
      contract by attempting to repossess this vehicle as well.
   22)      Plaintiff now seeks a Preliminary Injunction which orders defendant
     to not Repossess the Dodge Ram while these matters are pending before
     the court.


                                  COUNT I
                     BREACH OF CONTRACT OR AGREEMENT


Plaintiff re-alleges paragraphs 1 through 22 and further stated as follows:

   23)      Defendant owes and is indebted to Plaintiff in the sum of $100,000,
      based upon the estimated value of the book royalties, services rendered
      and the value of both the 2016 Dodge Ram and 2015 BMW respectively.

WHEREFORE, Plaintiff demands judgement against Defendant in the amount of
$100,000.00, plus $100,000.00 for punitive damages, or alternatively issue an
order to compel "Specific Performance" together with all court costs and any
further relief that this Court deems just and proper.




                                   01
                                    / 6         .c5.1
Kevin affold, Pr• e
335 South Saint Andrews St.
 othan, AL 36301
3 (/) 93S — gAU




                                         4
      Case 1:19-cv-00114-ECM-WC Document 1 Filed 02/08/19 Page 5 of 5



                       **SIGNATURE PAGE T FOLLOW**


                                        Kevin affold

STATE OF ALABAMA       )
HOUSTON COUNTY         )

       Before me, the undersigned Notary Public, in and for said county and state,
personally appeared Kevin Saffold, whose name is singed to the foregoing
document, and who is known to me, acknowledge before me on this date that,
being informed of the contents of said instrument, he executed the same
voluntarily on the day the same bears date.

      Given under my hand and seal this 11 1 day of February 2019.



                                        Notary Public
                                        My Commission Expires:      doR AOL)3




                                        5
